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Plaintiff Exhibit List

Ex. # Date Description Bates or Other Identifier Marked Admitted
Addressing Staff Sexual Misconduct with Offenders Curriculum
Instructors Guide- National Institute of Corrections in Pamerships
PX 4 2004-01-01 |with American University Washington College of Law
Sexual Abuse of Women in United States Prisons: A Modern
Corollary of Slavery by Brenda V. Smith — Fordham Urban Law
PX2 2006-01-01 |Journal Volume 33, Number 2
Breaking the Code of Silence - Correctional Officers’ Handbook on
Identifying and Addressing Sexual Misconduct by Brenda Smith and
PX 3 2007-01-01 |Jaime Yarussi
Building Culture Strategically - A Team Approach for Corrections -
PX 4 2007-02-01 |U.S. Department of Justice National Institute of Corrections
PX5 2009-06-01 |National Prison Rape Elimination Commission Report
Sexual Victimization in Prisons and Jails Reported by Inmates, 2008-
PX6 2010-08-01 |2009
PX7 2012-05-17 [Prison Rape Elimination Act - Prisons and Jail Standards
U.S. Department of Justice - Special Report - Sexual Victimization
PX8 2014-01-01 |Reported by Adult Correctional Authorities, 2009-11
PX9 2014-07-01 |IDOC - Administrative Directive No. 01.12.120 IDOC Subpoena Sexton 044859 - IDOC
BJA FY 2014 Prison Rape Elimination Act (PREA) Reallocation
Funds/Edward Byrne Memorial Justice Assistance Grant (JAG)
PX10 2014-09-03 |Program
JHA Special Prison Monitoring Report - Overcrowded,
Underresourced, and \ll-Gonceived: Lagan Correction Center,
PX 114 2014-12-31 |2013/14
Email from P. Keane to M. Briseno Fwd: 30 day Checklist and PREA |IDOC Subpoena 000942 - IDOC Subpoena
PX 12 2015-05-02 |Memo w/ attachment 000945
IDOC Subpoena (Second) 000119 - IDOC
PX 13 2015-05-13 |Logan Correctional Center - Institutional Directive No. 04.01.301 Subpoena (Second) 000133
National PREA Resource Center FAQ - What are the PREA
PX 14 2015-06-03 |Standards and When are they Effective?
Agreement between the Department of Central Management
Services and the American Federation of State, County and
PX 15 2015-07-01 |Municipal Employees Council 31, AFL-CIO
IDOC Letter from A. Hergert to K. Roberson Re: PREA, Offender 10
PX 16 2015-07-28 |and Corrections Clerk II Ruff, Douglas IDOC Subpoena 001039
PX 17 2015-08-26 |Email from S. Fitzer to R. Boyd RE: Confused IDOC Subpoena (Fourth) 034083
PX 18 2015-08-26 |Email from D. McCray to S. Fitzer FW: Confused iDOC Subpoena (Fourth) 035265
PX19 2015-09-01 |IDOC - Administrative Directive No. 01.12.120
PX 20 2015-09-15 |BJA FY 2015 JAG PREA Project
{SP 00051 - ISP 00055;
PX 21 2015-11-05 |I-Case Supplementary Report - Div Of Internal Investigation Various
Email from D. Chaudoin to A. Hergert et al. Re: Incident Summary- |IDOC Subpoena 001073 - IDOC Subpoena
PX 22 2015-11-09 |Logan Correctional Center - Alleged PREA 001074
IDOC Subpoena 001073 - IDOC Subpoena
Email from D. Chaudoin to A. Hergert et al. Re: Incident Summary - |001074;
PX 23 2015-11-09 |Logan Carrectiona! Center - Alleged PREA Various
IDOC Memorandum from N. Veech to C. Charron Re: PREA - IDOC Subpoena 002223 - IDOC Subpoena
PX 24 2015-11-11 |Offender 6 002233
IDOC Subpoena 000975 - IDOC Subpoena
PX 25 2015-11-11 _|PREA Checklist 000989
IDOC Subpoena 002224 - IDOC Subpoena
Email from D. Chaudoin to A. Hergert et al. Re: Incident Summary -  |002225,
PX 26 2015-11-11 _|Logan Correctional Center - Alleged PREA Various
PX 27 2015-11-24 |I-Case Supplementary Report - Div Of Intemal Investigation ISP 00031 - ISP 00156
Email from C. Gibbons to A. Pasiey Fw: Swam R92615 Temporary
PX 28 2015-12-07 |Confinement IDOC Subpoena (Fourth) 562447
Email from M. Butler-Jones to G. Willis et al. Fwd: Logan
PX 29 2015-12-19 |Correctional Center - P R E A Report (DOC Subpoena 002216
PX 30 2015-12-31 |Illinois Department of Corrections - 2015 Annual PREA Report qG (3 q| [8
Nationat Institute of Corrections’ Prison Rape Elimination Act (PREA)
PX 34 2016-01-01 [Training Courses by NIC
PX 32 2016-12-31 [Illinois Department of Corrections 2016 Annual PREA Report
PX 33 2016-12-31 |Prison Rape Elimination Act (PREA) Annual Report 2016
PX 34 2016-01-05 |Illinois State Police - Investigative Summary ISP 00001 - ISP 00003
C16-LOG-112 Offender 21 Conduct of Individual, Custodial Sexual
PX 35 2016-01-05 |Misconduct IDOC Subpoena 001346

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Ex. # Date Description | Bates or Other Identifier Marked Admitted
IDOC Subpoena 000458 - IDOC Subpoena
PX 36 2016-01-11 |Lagan Correctional Center - Institutional Directive No. 04.01.3014 000489
DUC Teller tram &. Mergent to WN. Ashley Re: PREA - Offender 15
and Williams, Bianca M., R-91961, Bainter, Amber M., R-87518,
Correctional Officer Schmidt, Timothy J., Correctional Officer Payne, |IDOC Subpoena 002566 - IDOC Subpoena
PX 37 2016-01-15 |Nicholas |. 002580
PX 38 2016-01-25 |PREA Checklist IDOC Subpoena 001241
IDCC Subpoena 001359 - IDOC Subpoena
PX 39 2016-02-16 |PREA File Checklist 001381
IDOC - PREA Sexual Abuse and Harassment Prevention and q| 18 q iB
PX 40 2016-02-16 |Intervention Program Manual DOE 000172 - DOE 000225
Email from D, Chaudoin to N. Ashley et al. Re: Alleged PREA - Amy |IDOC Subpoena 001279 - IDOC Subpoena
PX 41 2016-02-23 |Ferguson R89403 w/ attachments 001280
PX 42 2016-03-31 |IDOC - Incident Report IDOC Subpoena 002379
PREA Audit Report - Adult Prisons & Jails - Logan Correctional
PX 43 2016-05-06 |Center
ISP OOT75 - TSF OOT77,
PX 44 2016-06-21 |!-Case Supplementary Report - Div Of Internal Investigation Various
PX 45 2016-07-07 |IDOC - Incident Report IDOC Subsoena 001319
IDOC Memorandum from M. Burke to Offender 13 Re: Victim
PX 46 2016-07-25 |Notification of Completed PREA Investigation Findings IDOC Subpoena 001116
IDOC Subpoena (Fourth) 236904 - IDOC G 20 G 20
PX 47 2016-08-03 |Email from S. Drobnack to T. Sexton Re: [Nan-DoD Source] Re: Subpoena (Fourth) 236906
IDOC Letter from A. Hergert to N. Ashley Re: PREA - Offender 25 |IDOC Subpoena 002668 - IDOC Subpoena
PX 48 2016-08-08 |and Correctional Officer List, Damon M. 002680
IDOC Memorandum from A. Pasley to M. Burke Re: PREA Incident
PX 49 2016-08-09 |Reviews Offender 13 (DOC Subpoena 001115
PX 50 2016-08-18 | Illinois State Police - Investigative Summary {SP 00004
PX 51 2016-09-01 |IDOC - PREA After - Action Checklist {DOC Subpoena 001567
Tower rT er rae
PX 52 2016-09-01 |IDOC - PREA After - Action Checklist Various
IDOC Memeorandum from T. Sexton to S. Klassen Re: PREA -
PX 53 2016-09-08 | Offender 86 IDOC Subpoena Sexton 033016
PX 54 2016-09-08 |IDOC - PREA Ajter - Action Checklist (DOC Subpoena 002334
PX 55 2016-09-10 |IDOC - PREA After - Action Checklist IDOC Subpoena 001173
Email from A. Pasiey to S. Klassen et al. Re: PREA instructions w/
PX 56 2016-09-14 |attachments IDOC Subpoena (Fourth) 018767
PX 57 2016-09-14 |Email from T. Sexton to D. Chaudoin Re: WES CCI Macleod IDOC Subpoena (Fourth) 035691
PX 58 2016-09-27 |IDOC - Incident Report IDOC Subpoena 002816
IDOC Subpoena 001597 - IDOC Subpoena
PX 59 2016-09-27 |IDOC - PREA Ajter - Action Checklist 001599
Email from A. Pasley to J. Stover et al. Re: PREA Quarterly Report
PX 60 2016-09-27 |Reminder w/ attachments IDOC Subpoena (Fourth) 019569
FY 2016 PREA Reallocation Program _ Bureau of Justice G G. | iG
PX 61 2016-09-27 [Assistance 7
PX 62 2016-09-28 |IDOC - Adult and Juvenile Divisions - incident Report IDOC Subpoena 001386
IDOG Subpoena 001389 - IDOC Subpoena
PX 63 2016-10-04 |IDOC - PREA After - Action Checklist 001391
1DOC Memorandum from S, Klassen to A. Pasley et al. Re: PREA —|IDOC Subpoena (Fourth) 024316 - IDOC
PX 64 2016-10-06 |3rd Quarter Report Subpoena (Fourth) 024318
PX 65 2016-10-12 |IDOC - PREA After - Action Checklist IDOC Subpoena 001494
IDOC Memorandum from T. Sexton to S. Klassen Re: PREA - IDOC Subpoena 001192 - IDOC Subpoena
PX 66 2016-10-12 |Offender 17 001193
IDOC Memorandum from T. Sexton to S. Klassen Re; PREA - IDOC Subpoena 001174 - IDOC Subpoena
PX 67 2016-10-12 |Offender 17 001175
IDOC Memorandum from T. Sextan to S. Klassen Re: PREA - IDOC Subpoena 001174 - IDOC Subpoena
PX 68 2016-10-12 |Offender 17 001175;
PX 69 2016-10-13 |IDOC - PREA After - Action Checklist IDOC Subpoena 001540
PX 70 2016-10-17 |IDOC - PREA After - Action Checklist IDOC Subpoena 001194
PX 71 2016-10-21 |IDOC - Incident Report IDOC Subpoena 002684

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PX 72 2016-10-21 |IDOC - PREA After - Action Checklist IDOC Subpoena 001418
PX 73 2016-10-25 |Email from D. Willis to N. Ashley et al. Re: Offender 52 10-25-16 IDOC Subpoena Sexton 032977 *
The Gender informed Practice Assessment (GIPA) - Summary of G qG
PX 74 2016-11-01 |Findings & Recommendations - Logan Correctioncal Center [8 l
PX 75 2016-11-09 |IDOC - Adult and Juvenile Divisions - Incident Report IDOC Subpoena 002870
PX 76 2016-11-10 |IDOC - Adult and Juvenile Divisions - Incident Report IDOC Subpoena Sexton 032940
IDOC Memorandum from T. Sexton ta S, Klassen Re: PREA - IDOC Subpoena 002867 - IDOC Subpoena
PX 77 2016-11-10 |Offender 75 002868
IDOC Subpoena 002945 - IDOC Subpoena
PX 78 2016-11-10 |IDOC - Incident Report 002946
1DOC Memorandum from T. Sexton to S. Klassen Re: PREA - IDOC Subpoena 002867 - IDOC Subpoena
PX 79 2016-11-10 |Offender 75 002872
PX 80 2016-11-17 |I-Case Supplementary Report - Div Of Internal Investigation ISP 02696 - ISP 02736
PX 81 2016-11-22 [Illinois State Police - Investigative Summary ISP 00005 - ISP 00006
IDOC Subpoena 000013 - IDOC Subpoena G NG G 4
PX 82 2016-12-08 |IDOC Investigational Interview - Amanda Hicks 000015
IDOC Subpoena Sexton 032913 - IDOC
PX 83 2016-12-14 |Email from T. Sexton to L. McCarty Re: Offender 84 wi attachment__|Subpoena Sexton 032917
PX 84 2016-12-16 |IDOC - Incident Report Covered by Dep Stamp
PX 85 2016-12-31 |!Ilinois Department of Corrections - 2016 Annual PREA Report 4118 q 18
PX 86 2017-01-23 |Email from R. Setzer to M. Burke et al. Re: Offender 81 PREA IDOC Subpoena Sexton 033194
IDOC Subpoena Sexton 033173 - IDOC
PX 87 2017-01-26 |Email from L. Johnson to D. Chaudoin et al. Re: Offender 129 Subpoena Sexton 033175
IDOC Memorandum fram L. Johnson to M. Burke Re: PREA Incident
PX 88 2017-02-02 |Review IDOC Subpoena 001140
Email from R. MacLeod to §. Dawson et al. FW: Request Slips w/ IDOC Subpoena Macleod 027821 - IDOC
PX 89 2017-02-09 |attachment Subpoena Macleod 027822
Email from S. Eitzer to M. Burke et al. Re: WFS Staff Meeting Notes |IDOC Subpoena Macleod 027712 - IDOC
PX 90 2017-02-16 |6-9-16 w/ attachment Subpoena Macleod 027713
Email from S. Fitzer to M. Burke et al. Re: WFS Staff Meeting Notes |IDOC Subpoena Macleod 027707 - IDOC
PX 91 2017-02-16 |7-20-16 wi attachment Subpoena Macleod 027708
Email from S. Fitzer to M. Burke et al, Re: WFS Staff Meeting Notes |IDOC Subpoena Macleod 027714 - DOC
PX 92 2017-02-16 |8-30-16 w/ attachment Subpoena Macleod 027716
Email from S. Fitzer to M. Burke et al. Re: WFS Staff Meating Notes |IDOC Subpoena Macleod 027709 - IDOC
PX 93 2017-02-16 |9-28-16 wi attachment Subpoena Macleod 0277114
IDOC Subpoena (Fourth) 035562 - iDOC. Qa / G [20
PX 94 2017-02-23 |Email from S. Drobnack ta T. Sexton Re: Subpoena (Fourth) 035565
PX 95 2017-02-23 |IDOC - Incident Report IDOC Subpoena 008161
IDOC Subpoena Macleod 025604 - IDOC
PX 96 2017-02-23 |IDOC - Incident Report Subpoena Macleod 025606
PX 97 2017-03-06 |Email fram M. Clark to M. Burke et al. Re: PREA-Offender 129 IDOC Subpoena Sexton 032842
IDOC Memorandum from T. Sexton to L. Johnson Re: PREA IDOC Subpoena 001770 - IDOC Subpoena
PX 98 2017-03-08 |Offender 26 001771
PX 99 2017-03-11 |Email from G. Willis to A. Dean et al. Re; FYI IDOC Subpoena Sexton 046283
Logan Correctional Center - Post Description, Intemal Affairs
PX 100 2017-03-12 |Investigator, Assigned Lieutenant Doe 000072 - Doe 000074
PX 101 2017-03-25 |Email from M. Mibbs to M. Burke et al. Re: PREA Townhall Meetings |IDOC Subpoena Sexton 039439
John Howard Association of Illinois - Logan Correction Center: Staff
Survey Results from JHA's Monitoring Visit Conducted March 30,
PX 102 2017-03-30 |2017
IDOC Subpoena (Fourth) 000022 - IDO 9 | Ly G Hp /
PX 103 2017-04-01 |Loaan Correctional Center Offender Handbook & Orientation Manual |Subpoena (Fourth) 000101

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IDOC Subpoena (Second) 001780 - IDOC 4 4 4 /{4
PX 104 2017-04-01 |IDOC - Administrative Directive No. 04.01.301 Subpoena (Second) 001792 |
PX 105 2017-04-04 |I-Case Supplementary Report - Div Of Internal Investigation ISP 02739 - ISP 02895
PX 106 2017-04-13 |Logan Correctional Center - Institutional Directive No, 04.01.3041 DOE 000044 - DOE 000058
Email from G. Willis to T. Sexton Re: LTS Spring/Summer Schedule |IDOC Subpoena Sexton 041389 - IDOC
PX 107 2017-04-15 |2017 Concerns Subpoena Sexton 041390
IDOC Subpoena Sexton 039059 - IDOC
PX 108 2017-04-27 |U.S. Department of Justice - Survey of Sexual Victimization, 2016 _ | Subpoena Sexton 039063
State of lilinois - Department of Central Management Services - IDOC Subpoena 000245 - IDOC Subpoena
PX 109 2017-05-09 |Individual Development and Performance System 000250
iDOC Subpoena (Fourth) 251312 - IDOC G / q / q
PX 110 2017-05-17 |Email from S. Drobnack to T. Sexton Re: Hi Subpoena (Fourth) 251313 t G (
PX 111 2017-06-01 |Email from 8. Kelly to N. Ashley Re: Alleged PREA IDOC Subpoena Sexton 033263
IDOC Subpoena Macleod 007538 - IDOC
PX 112 2017-06-01 |IDOC - Transfer Coordinator's Office - Clincal Manual Subpoena Macleod 007578
Email from L. Johnson to T. Sexton Re: PREA Staff-Inmate IDOC Subpoena Sexton 033257 - IDOC
PX 113 2017-06-02 |Substantiated Class Subpoena Sexton 033258
Email from A. Wilson to T. Sexton et al. FW: Bureau of Justice IDOC Subpoena Sexton 039098 - IDOC
PX 114 2017-06-21 |Statistics Annual Survey of Sexual Victimization w/ attachment Subpoena Sexton 039099
PX 115 2017-07-06 |Email from S. Kelly to N, Ashley Re: Alleged PREA IDOC Subpoena Sexton 033236
Email from N. Veech to M. Burke et al. Re: [Extemal] PREA IDOC Subpoena Sexton 032761 - IDOC
PX 116 2017-07-06 |Violations w/ attachment Subpoena Sexton 032766
PX 117 2017-07-12 ||-Case Supplementary Report - Div Of Internal Investigation ISP 02903 - ISP 03003
Email from A. Pasley to 7. Sexton et al. Re: Bureau of Justice IDOC Subpoena Sexton 033231 - iIDOC
PX 118 2017-07-18 |Statistics Annual Survey of Sexual Victimization Subpoena Sexton 033232
ISP'03037 - ISP 03039;
PX 119 2017-07-19 |IDOC - Investigative Report Various
Email from R. MacLeod to M. Fletcher Re: your beautiful w/ q / IF G / IG
PX 120 2017-07-28 |attachment IDOC Subpoena Macleod 025959
IDOC Subpoena Macleod 007855 - IDOC
PX 121 2017-08-01 |IDOC - Transfer Coordinator's Office - Clincal Manual Subpoena Maclead 007894
ISP 03155 - ISP 03156;
PX 122 2017-08-03 |IDOC - Investigative Report Various
IDOC Subposna 000002 - IDOC Subpoena
PX 123 2017-08-04 |IDOC Ir igational Interview - Andrea Nielsen 000003
PX 124 2017-08-04 |IDOC - Incident Report
Email from A. Wilson to C. Polley et al. Re: Reportable Incident-
PX 125 2017-08-04 |Logan Correctional Center—Staff Sexual Miscanduct IDOC Subpoena Burke 010178
MHOC Subpoena 000005 - IDOC Subpoena
PX 126 2017-08-04 |IDOC - Incident Report 000007
IDOC Subpoena 000025 - IDOC Subpoena 4 20 q ZO
PX 127 2017-08-04 |IDOC - Incident Report 000030
Email from M. Eddy to A. Wilson Re: Counselor RICHARD IDOC Subpoena (Fourth) 000311 - IDOC
PX 128 2017-08-06 |MACLEOD Subpoena (Fourth) 000312 .
PX 129 2017-08-07 |i-Case Supplementary Report - Div Of Internal Investigation ISP 03249 - ISP 03290 4G 4 G/ q
Email from A. Wilson to C. Gurski et al. Re: Updated Reportable
PX 130 2017-08-07 |Incident—Logan Correctional Center—Staff Sexual Misconduct IDOC Subpoena Burke 010177
IDOC Memorandum from T. Sexton to L. Johnson Re: PREA -
PX 131 2017-08-08 |Offender 3 IDOC Subpoena 030382-031249
Email from L. Sims to M. Delia et al. FW: Counselor RICHARD IDOC Subpoena Sexton 035055 - IDOC
PX 132 2017-08-09 |MACLEOD wi attachment Subpoena Sexton 035067
Email from L. Sims to M. Delia et al. FW: Counselor RICHARD
PX 133 2017-08-09 |MACLEOD IDOC Subpoena Sexton 035055
IDOC Subpoena Sexton 041297 - IDOC G I G , G
PX 134 2017-08-10 |Email from T. Sexton to G. Willis Re: Bruised Arm Subpoena Sexton 041298 {
IDOC Subpoena Maclead 030269 - iDOC G | Z j G / al
PX 135 2017-08-30 |Email from R. MacLeod to R. Way Re: [Extemal] Re: the whole thing |Subpoena Macleod 030270
Email from D. Chaudoin to N. Ashley et al. Re: Incident Summary - |IDOC Subpoena Sexton 032687 - IDOC
PX 136 2017-09-11 |Alleged PREA - Offender 89 w/ attachment Subpoena Sexton 032690

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Ex. # Date Description Bates or Other Identifier Marked Admitted
{DOC Subpoena Sexton 041251 - IDOC
PX 137 2017-09-15 |Email from G. Austin to B. Buhl et al, Re: PREA Allegations Subpoena Sexton 041252
Email from G. Austin to T. Sexton et al, FW: PREA Checklist - DOC
PX 138 2017-09-15 |0507 IDOC Subpoena 041252
IDOC Subpoena Sexton 033217 - IDOC
PX 139 2017-09-20 |Email from T. Sexton to A. Pasley FW: Alleged PREA - Offender 12_|Subpoena Sexton 033218
PX 140 2017-09-20 |Email from A. Pasiey to T. Sexton Re: Alleged PREA - Offender 12_|IDOC Subpoena Sexton 033217
PX 141 2017-09-21 |Email from M. Burke to L. Johnson et al. Re: PREA IDOC Subpoena Sexton 041244 Gig GI %
PX 142 2017-09-25 |IDOC - PREA After - Action Checklist IDOC Subpoena 001869
Email from T. Sexton to N. Veech FW: Alleged PREA - Offender 54 |IDOC Subpoena Sexton 032659 - IDOC
PX 143 2017-09-28 |wi attachment Subpoena Sexton 032662
PX 144 2017-10-17 |Email from T. Sexton to W. Hopkins Re: Richard MacLeod
PX 145 2017-10-18 |Email from M. Burke to W. Hopkins Re: Incidents IDOC Subpoena (Fourth) 037427
PX 146 2017-10-20 |IDOC - PREA After - Action Checklist IDOC Subpoena 001703
IDOC Memorandum from S. Fitzer to Counselors Re: Offender/Child |IDOC Subpoena Macleod 024679 - IDOC
PX 147 2017-10-27 |Wellness Checks Subpoena Macleod 024680
PX 148 2017-10-31 |IDOC - PREA After - Action Checklist IDOC Subpoena 001828
IDOC Memarandum from W. Hopkins to M. Mibbs Re: PREA -
PX 149 2017-11-06 |Offender 51 IDOC Subpoena 001816
PX 150 2017-11-09 |IDOC - PREA After - Action Checklist IDOC Subpoena 001766
IDOC Memorandum from M. Mibbs ta M. Burke Re: PREA Incident |1D0C Subpoena 001699;
PX 154 2017-11-10 |Review Various
PX 152 2017-11-15 [Illinois State Police - Investigative Summary ISP 00015 - ISP 00020
IDOC Memorandum from W. Hopkins to M. Mibbs Re: PREA -
PX 153 2017-11-30 |Offender 48 IDOC Subpoena 001788
PX 154 2017-12-08 |IDOC - PREA After - Action Checklist iDOC Subpoena 001714
Email from F. Lipe to J. Moskus et al. Re: Nielsen R91945 DOC Subpoena Burke 070144 - IDOC
PX 155 2017-12-18 |Administrative Transfer Subpoena Burke 010145
PX 156 2018-01-01 |IDOC - PREA After - Action Checklist IDOC Subpoena 001907
PX 157 2018-01-02 |IDOC - PREA After - Action Checklist IDOC Subpoena 001935
IDOC Memorandum from W. Hopkins to M. Mibos Re: PREA - IDOC Subpoena 001726 - IDOC Subpoena
PX 158 2018-01-04 |Offender 20 001739
IDOC Memorandum from W. Hopkins to M. Mibbs Re: PREA -
PX 159 2018-01-11 |Offender 43 IDOC Subpoena 001926
PX 160 2018-01-12 |!DOC - PREA After - Action Checklist IDOC Subpoena 001924
IDOC Memorandum from W. Hopkins to M. Mibbs Re: PREA - IDOC Subpoena 002105 - IDOC Subpoena
PX 161 2018-01-18 |Offender 69 002106
PX 162 2018-01-18 |IDOC - PREA After - Action Checklist IDOC Subpoena 002086
IDOC Memorandum from W. Hopkins to M. Mibbs Re: PREA - IDOC Subpoena 001909 - IDOC Subpaena
PX 163 2018-01-21 |Offender 20 001910
IDOC Memorandum from W. Hopkins to M. Mibbs Re: PREA - IDOC Subpoena 002089 - IDOC Subpoena
PX 164 2018-02-26 |Offender 68 002090
PX 165 2018-02-26 |IDOC - PREA After - Action Checklist IDOC Subposna 001948
PX 166 2018-02-27 |IDOC - PREA After - Action Checklist IDOC Subpoena 002070
PX 167 2018-03-12 Illinois State Police - Investigative Summary ISP 00021 - ISP 00026
PX 168 2018-03-13 |Email from S. Fitzer to M. Fletcher Re: your beautiful IDOC Subpoena (Fourth) 579395
PX 169 2018-03-13 |IDOCG - PREA After - Action Checklist IDOC Subpoena 002063
PX 170 2018-04-04 Illinois State Police - Investigative Summary ISP 00013
{DOC Memorandum from W. Hapkins to M. Mibbs Re: PREA - IDCC Subpoena 001937 - [DOC Subpoena
PX 171 2018-04-11 |Offender 56 001938
IDOC Subpoena (Third) 000028 - IDOC
PX 172 2018-04-21 |IDOC - Incident Report Subpoena {Third) 000029
PX 173 2018-04-22 |IDOC - PREA After - Action Checklist IDOC Subpoena 002045

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Ex. # Date Description Bates or Other Identifier Marked
ISP 03312 - ISP 03313;
PX 174 2018-05-01 |IDOC - Investigative Report Various
PX 175 2018-05-03 Illinois State Police - Investigative Summary ISP 00007 - ISP 00012
PX 176 2018-05-03 |IDOC - PREA After - Action Checklist IDOC Subpoena 002084
PX 177 2018-05-11 | Illinois State Police - Investigative Summary ISP 00014
IDOC Memorandum from W, Hopkins to M. Mibbs Re: PREA - IDOC Subpoena 002071 - IDOC Subpoena
PX 178 2018-05-11 | Offender 66 002072
{DOC Subpoena (Fourth) 041702 - IDOC
PX 179 2018-05-24 |Email from J. Atterberry to S. Fitzer FW: Phones Subpoena (Fourth) 041703
PX 180 2018-05-25 |IDOC - PREA After - Action Checklist IDOC Subpoena 002001
IDOC Memorandum from W. Hopkins to M. Mibbs Re: PREA - IDOC Subpoena 001983 - IDOC Subpoena
PX 184 2018-06-20 |Offender 59 001984
PX 182 2018-06-27 |Illinois Department of Corrections - 2017 Annual PREA Report q 2 Q/2I
PX 183 2018-07-13 |Email from M. Eddy to R. MacLeod Re: Confused IDOC Subpoena (Fourth) 000310
lilinois Department of Central Management Services - IDOC Subpoena 000072 - IDOC Subpoena
PX 184 2018-09-27 |Personnel/Position Action Form 000073
PX 185 2018-10-09 |I-Case Supplementary Report - Div Of Internal Investigation ISP 03287 - ISP 03290 4] 14 Gig
IDOC Subpoena Sexton 036764 - IDOC
PX 186 2018-10-09 |Email from G. Willis to J. Jennings et al. Re: Lerma incident Subpoena Sexton 036765
PX 187 2018-10-16 [Illinois State Police - Investigative Summary ISP 00027
Mincis Department of Central Management Services - IDOC Subpoena 000070 - IDOC Subpoena
PX 188 2018-12-04 |Personnel/Position Action Form 000071
Prison Rape Elimination Act (PREA) Audit Report Adult Prisons &
PX 189 2019-01-16 | Jails
Email from G. Austin to A, Caoley et al. FW: Logan CC - PREA Audit |IDOC Subpoena Sexton 037192 - IDOC
PX 190 2019-02-06 |[Final Report} w/ attachments Subpoena Sexton 037193
Pathlore Leaming Management System - Person Transcript Training
PX 191 2019-02-19 |M. Burke DOE 000059 - DOE 000061
Letter from L. Weitekamp to N. Wasdin Re: Freedom of Information |IDOC FOIA Response 1 - IDOC FOIA
PX 192 2019-04-18 |Request #190412157 Response 17
Pathlore Learning Management System - Personal Transcript G 20 G ZO
PX 193 2019-04-18 | Training - T. Sexton Doe 000062 - Doe 000064
Defendant Burke's Responses & Objections to Plaintiff's First Set or
PX 194 2019-04-26 |Interrogatories Nos. 1-19
Defendant Sexton's Responses & Objections to Plaintiff's First Set or
PX 195 2019-04-26 |Interrogatories Nos. 1-19
IDOC Subpoena (Fourth) 000133 - IDOC
PX 196 2019-06-20 |IDOC - Report of Investigation Subpoena (Fourth) 000135
PX 197 2019-06-28 |Illincis Department of Corrections - 2018 Annual PREA Report 4/2 4/ri
Illinois Department of Corrections Female Innate Population Data on
PX 198 2019-06-30 |June 30, 2019
BJA FY 2019 Prison Rape Elimination Act (PREA) Reallocation
Funds/Edward Byme Memorial Justice Assistance Grant (JAG)
PX 199 2019-09-23 |Program
Defendant Burke's Supplemental Response to Plaintiff's First Set of
PX 200 2019-11-04 |Interrogatories No. 6 &7
Defendant Sexton's Supplemental Response to Plaintiff's First Set of G ,
PX 201 2019-11-04 |Interrogatories No, 6 &7
PX 202 2019-11-13 |John Howard Association Facility Report - Logan 2019
Women in Prison: Seeking Justice Behind Bars - Briefing Report
PX_203 2020-02-26 |Before the United States Commission of Civil Rights
Implementing the PREA Standards Protecting Inmates, and
PX 204 2020-03-09 |Safequarding Communities by NIC
Prairie State Wire - Richard Macleod earns $97,500 at Illinois 8 G a
PX 205 2020-04-01 |Department of Corrections in 2019 I [
PX 206 2020-06-17 |Chranic Care Asthma/Pulmonary - Initial Visit - Andrea Nielsen DOE000028 - DOEO00131
inols Medicaid Comprenensive Assessment of Needs and
PX 207 2020-09-11 |Strenghts (IM + CANS) DOEGO0001 - DOEO00027
PX 208 2020-10-06 |Client Engagement Data - Andrea Nielsen DOE000132 - DOEQ00191

3:18-cv-03191-SEM-KLM #225-1 Filed: 09/25/23 Page 7 of 8

Ex. # Date Description Bates or Other Identifier Marked Admitted
Kim, Hokyoung, The Way Prisoners Flag Guard Abuse, inadequate
PX 209 2020-12-02 |Health Care and Unsanitary Conditions is Broken — ProPublica ‘ i
PX 210 2020-12-07 |Evaluations of Andrea Nielsen by Dr. Ann Burgess 4/72 Z| G/2@
PX 214 2021-02-02 |Expert Report of Brenda Smith
PX 212 2021-02-02 |Expert Report of Dr. Ann Burgess + Appendices
PX 213 2022-01-01 [Illinois State Comptroller - State Employee Data ATS aris
PX 214 2022-02-03 |Illinois Comatroller’s Office - Employee Salary Database rea are
BJA FY 2022 Invited to Apply — Prison Rape Elimination Act (PREA)
PX 215 2022-08-02 |Reallocation Funds Program
PX 216 2023-08-03 |Regulations.gov - "What's Trending" website page
IDOC Subpoena Sexton 035062 - IDOC
PX 217 Facebook Messenger messages Subpoena Sexton 035067
IDOC Training Academy - PREA Awareness Training for (DOC Subpoena 000573 - IDOC Subpoena
PX 218 Investigators 000622 .
IDOC Subpoena 000782 - IDOC Subpoena 4
PX 219 Prison Rape Elimination Act (PREA) 000792 [7 {
IDOC Subpoena 000676 - IDOC Subpoena
PX 220 IDOC Training Academy - PREA PSOT / PSST Training 000748
{DOC Training Academy - Facility PREA Compliance Manager IDOC Subpoena 000793 - IDOC Subpoena G 16 G [8
PX 221 Training 000863
IDOC Subpoena 000749 - IDOC Subpoena 4 0 G 20
PX 222 IDOC Training Academy - Cycle Training 000781
TO SODAS td UST so - Toa Uo tel
PX 223 PREA Databases Spreadsheet 031326
PX 224 Macleod Call Pass Summary (Document Produced Natively) IDOC Subpoena (Fourth) 000008
PX 225 IDOC - PREA After - Action Checklist IDOC Subpoena 001465
PX 226 Case/Incident Excel Chart ISP 03369 4| 4 / 4
IDOC - Screening for Potential Sexual Victimization or Sexual Abuse
PX 227 Form DOE 000166 - DOE 000168
National Prison Rape Elimination Commission description and
PX 228 Recently Published Documents - Federal Register
Project on Addressing Prison Rape - End Silence: The Project on
Addressing Prison Rape - American University Washington College
PX 229 of Law
States’ and Territories’ Responses to the May 15, 2014 Prison Rape
PX 230 Elimination Act Deadline
Fiscal Year 2019 Annual Report by the State of Illinois Department of
PX 231 Corrections
PX 232 Prison Rape Elimination Act of 2003
PX 233 National PREA Resource Center - Auditor Search
PREA Standards - 115.71 Criminal and Administrative Agency
PX 234 Investigations page
PX 235 PREA Standards - 115.34 Specialized Training: Investigations page
PX 236 PREA Standards - 115.64 Staff First Responder Duties page as —
PX 237 Jane Doe Family Photos “t/ wy > i
PX 238 2023-07-21 |Evaluations of Andrea Nielsen by Dr. Ann Burgess af a
PX 239 2023-08-18 |Supp. Expert Recort of Dr. Ann Burgess 7
TOOG Sunpoena (Tira) OOUCUT -TOOL :
PX 240 Logan Pictures Subpoena (Third) 000027 G | 2) Gl 20 nd
PX 241 IDOC Webpage - Agency Overview
IDOG - Division of Women and Family Services - Logan Correctional |IDOC Subpoena (Fourth) 321964 - IDOC
PX 242 2015-02-09 |Center Report Subpoena (Fourth) 321972
PX 243 2016-06-30 |IDOC Fiscal Year 2016 Annual Report
PX 244 2016-02-17 |Illincis State Budget Fiscal Year 2017
PX 245 2022-06-30 |IDOC Fiscal Year 2022 Annual Resort
PX 246 2021-02-17 [Illinois State Budget Fiscal Year 2022
IDOC - Division of Women and Family Services - Logan Correctional |IDOC Subpoena (Fourth) 413518 - iDOC
PX 247 2015-06-01 |Center Report Subpoena (Fourth) 413526

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Ex. # Date Description | Bates or Other Identifier Marked Admitted
(DOC Subpoena (Fourth) 120827 - IDOC
PX 248 Logan Correctional Center FY 2015 Report Subpoena (Fourth) 120837
PX 249 2020-12-14 |Deposition Transcript of Margaret Burke
PX 250 2020-12-30 |Deposition Transcript of Todd Sexton
IDOC Defendants Reply in Support of Their Motion for Summary
PX 251 2021-09-13 |Judgment ECF # 182 7
PX 252 Keyway Genter for Diversion & Reentry - Maggie Burke Page al7yy alZzl
PX 253 Illinois State Comptroller - State Employee Data - Sexton, Todd = '
Prairie State Wire - Todd Sexton Eams $93,100 at Iilincis
PX 254 2023-09-13 |Department of Corrections in 2019
IDOC Subpoena (Fourth) 010168 - [DOC G G
PX 255 Prison Rape Elimination Act (PREA) For Investigators Subpoena (Fourth) 010274 ZO
49-3 Email from T. Sexton to J. Peek RE: transfer IDOC Subpoena (Fourth) 248539 - IDOC
PX 266 ee Subpoena (Fourth) 248540
PX257 | 2017-01-27 | Email from T. Sexton to D. Stock RE: PREA Investigations Role IDOC Subpoena (Fourth) 249658 G ] 20 G, /. 20
PX 258 2017-02-14 | Email from T. Sexton to J. Norsen RE:
PX 259 2017-02-17 | Email from T. Sexton to J. Norsen RE: GI G/IZD
PX 260 2017-03-16 | Email from T. Sexton to J. Norsen RE:
PX 264 2017-01-01 | Office of Executive Inspector General for the Agencies of the Illinais IDOC Subpoena (Fourth) 034467 - IDOC
f- i ini Subpoena (Fourth) 034468
IDOC Subpoena (Fourth) 570370 - IDOC
PX 262 2016-07-21 | Email from R. Way to R. MacLeod re Hank Subganaa (Eourh one
IDOC Subpoena (Fourth) 574487 - IDOC .
PX 263 2017-08-02 | Email fram R. Way to R. MacLeod re Re: {Extemal] Subpoena (Fourth) 574490 G. / 20 4G, [ LO
PX 264 b015-19.04 IDOC Subpoena (Fourth) 574509 - IDOC
= Email from R. MacLead to R. MacLeod re the last note Subpoena (Fourth) 574510
PX 265 2016-05-26 IDOC Subpoena (Fourth) 573933 - IDOC G
~~ Email from R. MacLeod to A. Cooley re Re: well! Subpoena (Fourth) 573935 G dO Zi
2916-06-02 [DOC Subpoena (Fourth) 574055 - IDOC G
PX 266 ve | Email from R. MacLead ta A. Cooley re Re: well! Subpoena (Fourth) 574056 2 G ZO
[DOC Subpoena (Fourth) 578895 - IDDOC =F
PX 267 2017-0 S1 Email from R. MacLeod to A. Richards re RE: hi Subpoena (Fourth) 578897 G 20 4/20
IDOC Subpoena (Fourth) 578901 os
PX 268 2017-03-31 ° G % G 20
Email from R. MacLeod to R. Way re RE: [External] Hi ,
PX 269 Chain of Command Chart Subpoene (reurt oases - DOG
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